          Case 3:15-cv-00224-MCR-CJK Document 28 Filed 11/30/15 Page 1 of 2
                  Case: 15-13801 Date Filed: 11/30/2015 Page: 1 of 2


                          UNITED STATES COURT OF APPEALS
                             FOR THE ELEVENTH CIRCUIT
                             ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                           56 Forsyth Street, N.W.
                                           Atlanta, Georgia 30303

Amy C. Nerenberg                                                                    For rules and forms visit
Acting Clerk of Court                                                               www.ca11.uscourts.gov


                                       November 30, 2015

Jessica Lyublanovits
U.S. District Court
1 N PALAFOX ST
PENSACOLA, FL 32502

Appeal Number: 15-13801-G
Case Style: Stephan Schurmann v. Jubilie Anqui
District Court Docket No: 3:15-cv-00224-MCR-CJK

The enclosed copy of the Clerk's Entry of Dismissal for failure to prosecute in the above
referenced appeal is issued as the mandate of this court. See 11th Cir. R. 41-4.

Sincerely,

AMY C. NERENBERG, Acting Clerk of Court

Reply to: Bryon Robinson, G
Phone #: (404) 335-6185

Enclosure(s)




                                                                DIS-2 Letter and Entry of Dismissal
         Case 3:15-cv-00224-MCR-CJK Document 28 Filed 11/30/15 Page 2 of 2
                 Case: 15-13801 Date Filed: 11/30/2015 Page: 2 of 2


                      IN THE UNITED STATES COURT OF APPEALS
                             FOR THE ELEVENTH CIRCUIT

                                       ______________

                                       No. 15-13801-G
                                       ______________

STEPHAN SCHURMANN,

                                                 Plaintiff - Appellant,

versus

JUBILIE ANQUI,

                                            Defendant - Appellee.
                      __________________________________________


                         Appeal from the United States District Court
                             for the Northern District of Florida
                      __________________________________________

ENTRY OF DISMISSAL: Pursuant to the 11th Cir.R.42-1(b), this appeal is DISMISSED for
want of prosecution because the appellant Stephan Schurmann failed to file a Transcript Order
Form within the time fixed by the rules, effective November 30, 2015.

                                  AMY C. NERENBERG
                       Acting Clerk of Court of the United States Court
                             of Appeals for the Eleventh Circuit

                            by: Bryon Robinson, G, Deputy Clerk

                                                         FOR THE COURT - BY DIRECTION
